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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS

 Case number (if known):                                     Chapter       7
                                                                                                                     Check if this is an
                                                                                                                      amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Rooftop Group USA, Inc.

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           3      0      –      0      4        6    8         8   1     0

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       15760 W. Hardy Rd.                                              5218 Spruce St.
                                       Number         Street                                           Number     Street
                                       Suite 400
                                                                                                       P.O. Box



                                       Houston                             TX       77060              Bellaire                       TX      77401
                                       City                                State    ZIP Code           City                           State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Harris                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                           State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:




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Debtor Rooftop Group USA, Inc.                                                            Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                      
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)

                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?                   
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                           4/01/22 and every 3 years after that).


                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return or if
                                                               all of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.


                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                          Chapter 12

9.   Were prior bankruptcy                No
     cases filed by or against
     the debtor within the last 8         Yes. District                                          When                      Case number
     years?                                                                                                MM / DD / YYYY
                                                District                                          When                      Case number
     If more than 2 cases, attach a
                                                                                                           MM / DD / YYYY
     separate list.
                                                District                                          When                      Case number
                                                                                                           MM / DD / YYYY




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Debtor Rooftop Group USA, Inc.                                                           Case number (if known)

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes. Debtor Darren Scott Matloff                                   Relationship Affiliate
    affiliate of the debtor?
                                                  District N.D. Texas                                         When          06/19/2019
    List all cases. If more than 1,                                                                                         MM / DD / YYYY
    attach a separate list.                       Case number, if known 19-32039


                                                  Debtor Rooftop Group International Pte. Ltd.                Relationship Affiliate

                                                  District N. D. Texas                                        When          04/30/2019
                                                                                                                            MM / DD / YYYY
                                                  Case number, if known 19-43402


11. Why is the case filed in          Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.


                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                No
    have possession of any
    real property or personal
                                          Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
                                                needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).


                                                    Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                    No
                                                    Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds
                                       Funds will be available for distribution to unsecured creditors.
                                       After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.




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Debtor Rooftop Group USA, Inc.                                                           Case number (if known)

14. Estimated number of                    1-49                              1,000-5,000                             25,001-50,000
    creditors                               50-99                              5,001-10,000                             50,001-100,000
                                                                                                               
                                           100-199                           10,001-25,000                           More than 100,000
                                           200-999

15. Estimated assets                       $0-$50,000                        $1,000,001-$10 million                  $500,000,001-$1 billion
                                           $50,001-$100,000                  $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                 $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million               $100,000,001-$500 million               More than $50 billion

16. Estimated liabilities                  $0-$50,000                        $1,000,001-$10 million                  $500,000,001-$1 billion
                                           $50,001-$100,000                  $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                 $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million               $100,000,001-$500 million               More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative            this petition.
    of debtor
                                        I have been authorized to file this petition on behalf of the debtor.

                                        I have examined the information in this petition and have a reasonable belief that the information is
                                         true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                           Executed on 08/25/2019
                                                       MM / DD / YYYY

                                           X /s/ DARREN MATLOFF                                     DARREN MATLOFF
                                              Signature of authorized representative of debtor      Printed name

                                           Title PRESIDENT


18. Signature of attorney                X /s/ Howard Marc Spector                                               Date     08/25/2019
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Howard Marc Spector
                                            Printed name
                                            Spector & Johnson, PLLC
                                            Firm name
                                            12770 Coit Road
                                            Number          Street
                                            Suite 1100

                                            Dallas                                                     TX                  75251
                                            City                                                       State               ZIP Code


                                            (214) 365-5377                                             hms7@cornell.edu
                                            Contact phone                                              Email address
                                            00785023                                                   TX
                                            Bar number                                                 State




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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:   Rooftop Group USA, Inc.                                               CASE NO

                                                                                 CHAPTER      7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 8/25/2019                                           Signature    /s/ DARREN MATLOFF
                                                                     DARREN MATLOFF
                                                                     PRESIDENT


Date                                                     Signature
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                      ADP, LLC
                      PO Box 12513
                      1851 N Resler Drive
                      El Paso, TX 79912


                      Allpak Container, LLC
                      1100 SW 27th Street
                      Renton, WA 98057



                      Anicole, Inc.
                      c/o Anita York
                      8 McGillivray Ave.
                      North York, ON M5M 2Y1


                      Apple Distribution International
                      Hollyhill Industrial Estate,
                      Hollyhill, Ireland



                      Asian Express Holdings Ltd
                      Room 1702, Sino Centre
                      582-592 Nathan Road
                      Mongkok, Kowloon Hong Kong


                      AT&T Mobility
                      PO Box 6463
                      Carol Stream, IL 60197



                      Bay Cities Container Corp
                      5138 Industry Ave
                      Pico Rivera, CA 90660



                      Bazaar Voice
                      10901 South Stonelake Blvd
                      Austin, TX 78759



                      Bed Bath & Beyond
                      650 Liberty Avenue
                      Union, NJ 07083
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                      BTX Global Logistics
                      12 Commerce St
                      Shelton, CT 06484



                      Canada Revenue Agency
                      PO Box 3800 STN A
                      Sudbury, ON P3A 0C3



                      Carey D. Schreiber
                      Winston & Strawn LLP
                      200 Park Avenue
                      New York, NY 10166-4193


                      CNA Insurance
                      1000 Wilshire Blvd, #1800
                      Los Angeles, CA 90017



                      Commerce Hub
                      201 Fuller Rd
                      Albany, NY 12203



                      Dealer Protection Ins Srv / Arroyo Ins
                      8659 Research Dr
                      Irvine, CA 92618



                      Duane Morris LLP
                      1540 Broadway
                      New York, NY 10036



                      Echo Global Logistics
                      600 West Chicago Ave
                      Suite 725
                      Chicago, IL 60654


                      Edward L Schafman, LLC
                      5218 Spruce St
                      Bellaire, TX 77401
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                      Evergreen Shipping
                      Tollway Plaza 1
                      16000 North Dallas Parkway
                      Dallas, TX 75248


                      FedEx
                      PO Box 660481
                      Dallas, TX 75266



                      First Insurance Funding
                      450 Skokie Blvd
                      Suite 1000
                      Northbrook, IL 60062


                      GTT Communications
                      7900 Tyson One Place, Suite 1450
                      McLean, VA 22102



                      Internal Revenue Service
                      P.O. Box 7346
                      Philadelphia, PA 19101-7346



                      InterTrade Systems Inc
                      PO Box 55811
                      Boston, MA 02205



                      Karr Tuttle Campbell
                      701 Fifth Avenue
                      Suite 3300
                      Seattle, WA 98104


                      Knobbe Martens
                      2040 Main Street
                      14th Floor
                      Irvine, CA 92614


                      Law Office of Steven Riker
                      One Grand Central Place
                      46th Floor
                      New York, NY 10165
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                      Nielsen
                      85 Broad St
                      New York, NY 10004



                      North American Freight
                      556 Byrne Dr #20
                      Barrie, ON L4N 9P6



                      Office Depot / Office Max
                      6600 N Military Trail
                      Boca Raton, FL 33496



                      Office of the United States Trustee
                      1100 Commerce Street, Room 976
                      Dallas, TX 75242-1699



                      Q4 Brands LLC
                      c/o Adam Mcenaney
                      7425 Evening Sky Circle
                      Austin, TX 78735


                      Republic Services
                      PO Box 820
                      Del Valle, TX 78617



                      Rhodium Productions LLC
                      9102 Cascada Way
                      Suite 101
                      Naples, FL 34114


                      Shop LLC dba Shop Studios
                      528 W 39th St
                      New York, NY 10018



                      SPS Commerce, Inc
                      PO Box 205782
                      Dallas, TX 75320
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                       Staff Force
                       4631 Airport Blvd., Suite 131
                       San Antonio, TX 78216



                       Staples
                       500 Staples Drive
                       Framingham, MA 01702



                       T.O. Epps & Associates, Inc.
                       1075 Andrew Drive I
                       West Chester, PA 19380



                       Techlink International, LLC
                       PO Box 290444
                       Davie, FL 33329



                       Telepacific Communications
                       515 Flower St
                       45th floor
                       Los Angeles, CA 90071


                       The Garrahan Group
                       114 Sheldon St
                       El Segundo, CA 90245



                       Time World Express Inc
                       2210 - 5200 Miller Road
                       Richmond, BC V7B 1L1



                       Total Express
                       3220 Caravelle Dr
                       Mississauga, ON L4V 1K9



                       Tricon Logistics
                       PO Box 612369
                       DFW Airport, TX 75261
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                       TriCon Logistics, LLC
                       c/o Chris Condon
                       4450 W. Walnut Hill Lane
                       Suite 100
                       Irving, Texas 75038

                       Uline
                       PO Box 88741
                       Chicago, IL 60680



                       UPS
                       55 Glenlake Parkway
                       Atlanta, GA 30328
